     Case 1:05-cr-00052-JTN ECF No. 42, PageID.76 Filed 05/03/05                   Page 1 of 1
                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

                Plaintiff,
                                                            File No: 1:05-CR-52
v.
                                                            HON. DAVID W. McKEAGUE
EFRAIN GARCIA-ESPINO,

                Defendant.
                                    /

                             ORDER AND JUDGMENT
                     APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1.     The Report and Recommendation of the Magistrate Judge (Docket #34) is approved

and adopted as the opinion of the Court.

         2.     Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count One of the Indictment.

         3.     Defendant shall be detained pending sentencing pursuant to 18 U.S.C. §3143(a)(2).

         4. A decision of whether to accept the written plea agreement will be made at the time of

sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6. If the Court rejects the plea agreement, then the defendant will have the right

to withdraw his plea under Fed.R.Crim.P. 11(c)(5).

         IT IS SO ORDERED.

DATED: May 3, 2005                                    /s/ David W. McKeague
                                                     DAVID W. McKEAGUE
                                                     UNITED STATES DISTRICT JUDGE
